Case 2:98-cV-02642-.]DB-STA Document 125 Filed 08/01/05 Page 1 of 3 PagelD 116

 

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FoR THE wEsTERN DlsTRlcT oF TENNESSEE .
wEsTERN DivlsroN 05 AUG -l AH ll- 00
A'r MEMPHlS
uNloN REALTY coMPANv, LTD.,
Piaintifr,
v. No. 93-2642-5

Judge Breen
NAT|ONW|DE MUTUAL lNSURANCE

COMPANY,
Defendant.

ORDER CONT|NU|NG TR|AL AND PRETR|AL CONFERENCE

Upon Joint lVlotion of the parties through counsel, the Court hereby continues both the
pretrial conference and the trial of this matter currently set for August 9 and 15, 2005, respectively,

to be reset by the Court.

ALL OF WH|CH lS, THEREFORE, ORDE Dl ADJUDGED AND DECREED.

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RICHARD GLASS|V|AN #7815

Atto y for Pla£/

PARKS CHASTA|N #13744
Attorney for Defendant

 

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Case 2:98-cv-O2642-.]DB-STA Document 125 Filed 08/01/05 Page 2 of 3 PagelD 117

CERT|F|CATE OF SERV|CE

A true copy of the foregoin pleading as been served on counsel for adverse
parties or individually this the !? day of

  

Ric‘HARD GLASSMAN

Page 2 of 2

   

UNITE`DSTATES DISTRICT OURT WESTERNDTISRIC OF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 125 in
case 2:98-CV-02642 Was distributed by faX, mail, or direct printing on
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